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Exhibit A




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

Valencia Colon,

Plaintiff,
                                                    Civil Action File No.
v.                                                1:21-cv-00149-JRH-BKE

Richard Roundtree, et al.,

Defendant.

               Notice of Deposition to Augusta-Richmond County

To:    Tameka Haynes
       Frails & Wilson LLC
       211 Pleasant Home Road, Suite A1
       Augusta, GA 30907
       thaynes@frailswilsonlaw.com


       On February 4, 2022 beginning at 9 AM, pursuant to agreement of counsel

and Fed. R. Civ. P. 30(b)(6), Plaintiff's counsel will take the deposition of

designated individuals from Augusta-Richmond County. The purpose of the

deposition is any use allowed by Federal and/or State Law.

       The parties have agreed, the subject of matter of the deposition will be

Augusta-Richmond County Parks and Recreation Department policies and

planning of events.
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        The deposition will be conducted via Zoom or other remote video

conferencing system. The Court Reporter is directed to send all appropriate links

via email to wick@thecauthornfirm.com and thaynes@frailswilsonlaw.com.

        The deposition will be video recorded and taken down by a licensed Court

Reporter.

        The deposition will continue from day to day until completed as allowed by

law.

Dated: February 3, 2022.

                                          THE CAUTHORN FIRM

                                          /s/J. Wickliffe Cauthorn
                                          J. Wickliffe Cauthorn
                                          Georgia Bar No. 907911
wick@thecauthornfirm.com
201 Cherokee Street
Marietta, Georgia 30060
(404) 991-2700
Fax: (404) 902-5609
Counsel for Plaintiff




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                               Certificate of Service

       The undersigned certifies a copy of the foregoing was served upon counsel

of record via this Court's electronic case filing (ECF) system. Attorneys of record

are

Tameka Haynes
Frails & Wilson LLC
211 Pleasant Home Road, Suite A1
Augusta, GA 30907
randyfrails@frailswilsonlaw.com
thaynes@frailswilsonlaw.com

       This 3d day of February, 2022.

                                          THE CAUTHORN FIRM

                                          /s/J. Wickliffe Cauthorn
                                          J. Wickliffe Cauthorn
                                          Georgia Bar No. 907911
wick@thecauthornfirm.com
201 Cherokee Street
Marietta, Georgia 30060
Counsel for Plaintiff




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